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                                               UNITED STATES BANKRUPTCY COURT
                                                EASTERN DISTRICT OF NEW YORK


In re: Nikolaos Hiletzaris                                                            Case No. 1-13-46187 (NHL)
       Debtor                                                                Reporting Period: Feb. 2014

                                                                               Social Security #                 9973
                                                                                   (last 4 digits only)


                                                    MONTHLY OPERATING REPORT
                                                    (INDIVIDUAL WAGE EARNERS)

      File with the Court and submit a copy to the United States Trustee within 20 days after the end of the
      month and submit a copy of the report to any official committee appointed in the case.
      (Reports for Rochester and Buffalo Divisions of Western District of New York are due 15 days after the
      end of the month, as are the reports for Southern District of New York.)


      REQUIRED DOCUMENTS                                                     Form No.                     Document      Explanation
                                                                                                          Attached       Attached
      Schedule of Cash Receipts and Disbursements                            MOR-1 (INDV)                    x
         Bank Reconciliation (or copies of debtor's bank                     MOR-1 (CONT)
                                                                                                             x
      reconciliations)
         Copies of bank statements
      Disbursement Journal                                                   MOR-2 (INDV)                    x
      Balance Sheet                                                          MOR-3 (INDV)                    x
         Copies of tax returns filed during reporting period
      Summary of Unpaid Post-petition Debts                                  MOR-4 (INDV)                    x
      Status of Secured Notes, Leases, Installment Payments                  MOR-5 (INDV)                    x
      Debtor Questionnaire                                                   MOR-6 (INDV)                    x


      I declare under penalty of perjury ( 28 U.S.C. Section 1746) that the documents attached to this report are true and
      correct to the best of my knowledge and belief.


      /s/ Nikolaos Hiletzaris                                                                                    Date        4/2/2014




                                                                                                                             FORM MOR (INDV)
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       Debtor                                                                         Reporting Period: Feb. 2014

                       INDIVIDUAL DEBTOR CASH RECEIPTS AND CASH DISBURSEMENTS
                                   (This Form must be submitted for each bank account maintained by the Debtor)

      Amounts reported should be per the debtor's books, not the bank statement. The beginning cash should be the ending
      cash from the prior month or, if this is the first report, the amount should be the balance on the date the petition was
      filed. Attach the bank statements and a detailed list of all disbursements made during the report period that includes
      the date, the check number, the payee, the transaction description, and the amount. A bank reconciliation must
      be attached for each account. [See MOR-1 (CON'T)]

                                                                                           Current Month              Cumulative Filing to Date
                                                                                               Actual                            Actual

      Cash - Beginning of Month                                                                               0
      RECEIPTS
       Wages (Net)
       Interest and Dividend Income
       Alimony and Child Support
       Social Security and Pension Income
       Sale of Assets
       Other Income (attach schedule)
        Total Receipts                                                                                        0
      DISBURSEMENTS
       ORDINARY ITEMS:
        Mortgage Payment(s)
        Rental Payment(s)
        Other Secured Note Payments
        Utilities
        Insurance
        Auto Expense
        Lease Payments
        IRA Contributions
        Repairs and Maintenance
        Medical Expenses
        Food, Clothing, Hygiene
        Charitable Contributions
        Alimony and Child Support Payments
        Taxes - Real Estate
        Taxes - Personal Property
        Taxes - Other (attach schedule)
        Travel and Entertainment
        Gifts
        Other (attach schedule)
         Total Ordinary Disbursements                                                                         0
       REORGANIZATION ITEMS:
        Professional Fees
        U. S. Trustee Fees
        Other Reorganization Expenses (attach schedule)
         Total Reorganization Items                                                                           0

       Total Disbursements (Ordinary + Reorganization)                                                        0

       Net Cash Flow (Total Receipts - Total Disbursements)                                                   0

       Cash - End of Month (Must equal reconciled bank                                                        0
      statement)


                                                                                                                                                  FORM MOR-1 (INDV)
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       Debtor                                                 Reporting Period: Feb. 2014


               INDIVIDUAL DEBTOR CASH RECEIPTS AND CASH DISBURSEMENTS
                                   (continuation sheet)

      BREAKDOWN OF "OTHER" CATEGORY                          Current Month       Cumulative Filing to
                                                             Actual              Date Actual
      Other Income




      Other Taxes




      Other Ordinary Disbursements




      Other Reorganization Expenses




                                 THE FOLLOWING SECTION MUST BE COMPLETED
      DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY FEES: (FROM CURRENT MONTH ACTUAL COLUMN)


      TOTAL DISBURSEMENTS                                                                          0

         LESS: TRANSFERS TO OTHER DEBTOR IN POSSESSION ACCOUNTS                                    0

         PLUS: ESTATE DISBURSEMENTS MADE BY OUTSIDE SOURCES (i.e.                                  0

      from escrow accounts)
      TOTAL DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE                                             0

      QUARTERLY FEES




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In re Nikolaos Hiletzaris                                                      Case No. 1-13-46187 (NHL)
      Debtor                                                          Reporting Period: Feb. 2014

                                                      BANK RECONCILIATIONS
     Continuation Sheet for MOR-1
     A bank reconciliation must be included for each bank account. The debtor's bank reconciliation may be substituted for this page.
     (Bank account numbers may be redacted to last four numbers.)


                                               Operating                     Payroll                      Tax                           Other

     BALANCE PER                                             100.05                          0                          0                        0
     BOOKS

     BANK BALANCE                                            100.05
     (+) DEPOSITS IN                                              0
     TRANSIT (ATTACH
     LIST)
     (-) OUTSTANDING                                              0
     CHECKS (ATTACH
     LIST) :
     OTHER (ATTACH                                                0
     EXPLANATION)

     ADJUSTED BANK                                           100.05                          0                          0                        0
     BALANCE *
     *"Adjusted Bank Balance" must equal "Balance per Books"


     DEPOSITS IN TRANSIT                           Date                      Amount                       Date                          Amount




     CHECKS OUTSTANDING                           Ck. #                      Amount                       Ck. #                         Amount




     OTHER




                                                                                                                                                     FORM MOR-1 (CONT)
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In re Nikolaos Hiletzaris                                       Case No. 1-13-46187 (NHL)
      Debtor                                           Reporting Period: Feb. 2014

                                     DISBURSEMENT JOURNAL

                                    CASH DISBURSEMENTS
        Date                    Payee             Purpose                     Amount




                            Total Cash Disbursements                                        0


                                   BANK ACCOUNT DISBURSEMENTS
        Date                    Payee              Purpose                    Amount            Check #




                      Total Bank Account Disbursements                                      0


                      Total Disbursements for the Month                                     0




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In re Nikolaos Hiletzaris                                                                      Case No. 1-13-46187 (NHL)
      Debtor                                                                          Reporting Period: Feb. 2014

                                                              BALANCE SHEET
     The Balance Sheet is to be completed on an accrual basis only. Pre-petition liabilities must be classified separately from
     post-petition obligations.

                                      ASSETS                                      BOOK VALUE AT END OF               BOOK VALUE ON
                                                                                   CURRENT REPORTING                PETITION DATE OR
                                                                                         MONTH                     SCHEDULED AMOUNT
     SCHEDULE A REAL PROPERTY
     Primary Residence




     Other Property (attach schedule)
     TOTAL REAL PROPERTY ASSETS                                                                     255,000.00                     255,000.00

     SCHEDULE B PERSONAL PROPERTY
     Cash on Hand
     Bank Accounts
     Security Deposits
     Household Goods & Furnishings
     Books, Pictures, Art
     Wearing Apparel
     Furs and Jewelry
     Firearms & Sports Equipment
     Insurance Policies
     Annuities
     Education IRAs
     Retirement & Profit Sharing
     Stocks
     Partnerships & Joint Ventures
     Government & Corporate Bonds
     Accounts Receivable
     Alimony, maintenance, support or property settlements
     Other Liquidated Debts
     Equitable Interests in Schedule A property
     Contingent Interests
     Other Claims
     Patents & Copyrights
     Licenses & Franchises
     Customer Lists
     Autos, Trucks & Other Vehicles
     Boats & Motors
     Aircraft
     Office Equipment
     Machinery, supplies, equipment used for business
     Inventory
     Animals
     Crops
     Farming Equipment
     Farm Supplies
     Other Personal Property (attach schedule)
     TOTAL PERSONAL PROPERTY                                                                      2,819,433.81                    2,819,433.81
     TOTAL ASSETS                                                                                 3,074,433.81                    3,074,433.81


                                                                                                                                                 FORM MOR-3 (INDV)
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      Debtor                                             Reporting Period: Feb. 2014


                  LIABILITIES AND OWNER EQUITY        BOOK VALUE AT END OF         BOOK VALUE ON
                                                       CURRENT REPORTING          PETITION DATE OR
                                                             MONTH               SCHEDULED AMOUNT
     LIABILITIES NOT SUBJECT TO COMPROMISE (Postpetition)
     Federal Income Taxes (not deducted from wages)
     FICA/Medicare (not deducted from wages)
     State Taxes (not deducted from wages)
     Real Estate Taxes
     Other Taxes (attach schedule)
     TOTAL TAXES
     Professional Fees
     Other Post-petition Liabilities (list creditors)




     TOTAL POST-PETITION LIABILITIES                                         0                       0

     LIABILITIES SUBJECT TO COMPROMISE (Pre-Petition)
     Secured Debt                                                            0                       0
     Priority Debt                                                           0                       0
     Unsecured Debt                                                83,587.14                 83,587.14
     TOTAL PRE-PETITION LIABILITIES                                83,587.14                 83,587.14

     TOTAL LIABILITIES                                             83,587.14                 83,587.14



                                                                                                         FORM MOR-3 (INDV)
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In re Nikolaos Hiletzaris                                                                                 Case No. 1-13-46187 (NHL)
      Debtor                                                                                     Reporting Period: Feb. 2014


                                        SUMMARY OF UNPAID POST-PETITION DEBTS


                                                                                            Number of Days Past Due
                                                         Current            0-30            31-60           61-90          Over 91       Total
     Mortgage                                                                                                                                    0
     Rent
     Secured Debt/Adequate Protection
     Payments
     Professional Fees
     Other Post-Petition debt (list creditor)




     Total Post-petition Debts                                      0                   0             0                0             0           0


     Explain how and when the Debtor intends to pay any past due post-petition debts.




                                                                                                                                                     FORM MOR-4 (INDV)
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      Debtor                                           Reporting Period: Feb. 2014


             POST-PETITION STATUS OF SECURED NOTES, LEASES PAYABLE
                      AND ADEQUATE PROTECTION PAYMENTS

                                         SCHEDULED
                                          MONTHLY          AMOUNT PAID    TOTAL UNPAID POST-
               NAME OF CREDITOR         PAYMENT DUE       DURING MONTH        PETITION




                                       TOTAL PAYMENTS                 0                     0




                                  INSTALLMENT PAYMENTS


                                                                          PAYMENT AMOUNT &
                 TYPE OF POLICY              CARRIER     PERIOD COVERED      FREQUENCY




                                                                                                FORM MOR-5 (INDV)
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In re Nikolaos Hiletzaris                                                          Case No. 1-13-46187 (NHL)
      Debtor                                                              Reporting Period: Feb. 2014



                               DEBTOR QUESTIONNAIRE
     Must be completed each month. If the answer to any of the            Yes       No
     questions is “Yes”, provide a detailed explanation of each
     item. Attach additional sheets if necessary.
     Have any funds been disbursed from any account other than a
   1 debtor in possession account this reporting period?                             x
     Is the Debtor delinquent in the timely filing of any post-petition
   2 tax returns?                                                                    x
     Are property insurance, automobile insurance, or other necessary
   3 insurance coverages expired or cancelled, or has the debtor                     x
     received notice of expiration or cancellation of such policies?
     Is the Debtor delinquent in paying any insurance premium
   4 payment?                                                                        x
     Have any payments been made on pre-petition liabilities this
   5 reporting period?                                                               x
   6 Are any post petition State or Federal income taxes past due?                   x
   7 Are any post petition real estate taxes past due?                               x
   8 Are any other post petition taxes past due?                                     x
     Have any pre-petition taxes been paid during this reporting
   9 period?                                                                         x
  10 Are any amounts owed to post petition creditors delinquent?          X
     Have any post petition loans been been received by the Debtor
  11 from any party?                                                                 x
  12 Is the Debtor delinquent in paying any U.S. Trustee fees?                       x
     Is the Debtor delinquent with any court ordered payments to
  13 attorneys or other professionals?                                               x




                                                                                                     FORM MOR-6 (INDV)
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